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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 BRIGHT DATA LTD.,                                 §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §    CIVIL ACTION NO. 2:19-CV-00395-JRG
                                                   §
 TESO LT, UAB, METACLUSTER LT,                     §
 UAB, OXYSALES, UAB,                               §
                                                   §
                Defendants.                        §

                                              ORDER
       Before the Court is Plaintiff Bright Data Ltd.’s (“Bright Data”) Motion for Summary

Judgment on Defendants’ Counterclaim and Defense of Inequitable Conduct (the “Motion”).

(Dkt. No. 240). The Court held a pretrial conference for the above captioned matter on August

31, 2021 at which the Motion was raised. (Dkt. No. 469). The Court informed the parties both at
   .
the pretrial conference and in its subsequent Order (Dkt. No. 476) that the Court would consider

the Motion post-verdict and to the extent it is not mooted by the jury’s verdict. (Id. at 135:3–18;

Dkt. No. 476 at 5–6). Consistent with these prior instructions, the Motion is DENIED

WITHOUT PREJUDICE. The Court grants Bright Data leave to re-file the Motion following

the return and acceptance of the jury's verdict in this case, to the extent that such inequitable

conduct defense remains a live issue at that time and in light of such verdict.

      So ORDERED and SIGNED this 16th day of September, 2021.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
